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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                     )
THE AMERICAN HOSPITAL ASSOCIATION,                   )
ASSOCIATION OF AMERICAN MEDICAL                      )
COLLEGES, MERCY HEALTH MUSKEGON,                     )
CLALLAM COUNTY PUBLIC HOSPITAL                       )
NO. 2, d/b/a OLYMPIC MEDICAL CENTER,                 )
and YORK HOSPITAL,                                   )
                                                     )
                      Plaintiffs,                    )
                                                     )
                      v.                             )       Civil Action No. 1:18-cv-2841
                                                     )
ALEX M. AZAR II,                                     )
in his official capacity as SECRETARY OF             )
HEALTH AND HUMAN SERVICES,                           )
                                                     )
                      Defendant.                     )
                                                     )

                           REPLY IN SUPPORT OF PLAINTIFFS’
                            MOTION TO ENFORCE JUDGMENT

       This Court previously vacated as ultra vires portions of a Final Rule governing hospital

outpatient payment rates for Calendar Year (CY) 2019. The vacated portion of the Final Rule

contemplated certain cuts to hospital payment rates that would be phased in over two years: the

first in CY 2019, and the second in CY 2020. CMS moved to modify the Court’s vacatur order,

and its motion was denied. But CMS pressed ahead anyway, announcing its intention to

“implement” in CY 2020 the second phase of the two-year cuts “finalized” in the vacated Final

Rule. That is unlawful, and Plaintiffs need not wait until after they have begun to suffer under

the second phase of cuts (which, again, were already declared unlawful) to obtain relief.

       The Government offers two main arguments in its Opposition, one substantive and one

procedural. On the merits, CMS argues that it “did not violate the judgment in this case through
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its promulgation of the 2020 OPPS Rule.” Gov. Opp. at 7. Tellingly, nowhere does CMS try to

explain how the same “method for controlling unnecessary volume increases” could be beyond

the agency’s delegated authority in 2019 but nevertheless lawful in 2020 without intervening

congressional action. See Gov. Opp. at 2 (conceding that “if Plaintiffs” were to challenge “the

2020 OPPS Rule, the Court may well find it to be ultra vires for the same reasons”).

       Perhaps cognizant that it has little defense on the merits, the Government turns to a

procedural argument: that Plaintiffs must wait until the 2020 OPPS Rule takes effect and present

claims under the “new” rule before challenging it here. The Government cites the usual

precedent for this proposition—Shalala v. Illinois Council on Long Term Care, Inc., 529 U.S. 1

(2000)—but that case did not involve an already-vacated rule that an agency sought to

implement anyway.

       Underlying each of these arguments is the Government’s central premise: that the 2019

and 2020 OPPS Rules are “entirely different” rules, Gov. Opp. at 8. But the two-year phase-in

of the reduction to payments reflects a single—and already vacated—agency action. That much

is made clear by CMS’s repeated statements during both the 2019 and 2020 rulemaking

processes. See 83 Fed. Reg. 58,818, 59,010 (Nov. 21, 2018) (announcing in 2019 OPPS Rule

that CMS “will be implementing this policy with a 2-year phase-in” and projecting effect of the

rule by including payment reductions in both years); 84 Fed. Reg. 61,142, 61,365 (Nov. 12,

2019) (acknowledging that the two-year policy was adopted in “the CY2019 OPPS/ASC final

rule” and asserting that CMS is “continuing the policy with the second year of the two-year

transition in CY 2020”); 84 Fed. Reg. 39,398, 39,512–513 (Aug. 9, 2019) (acknowledging

“application” in CY 2020 of the “specific policy we finalized in the CY 2019 OPPS/ASC final

rule” and reiterating that “CY 2020 will be the second year of the 2-year transition of this



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policy”). Lest there be any doubt, in announcing the CY 2020 Final Rule, CMS pronounced:

“As finalized in last year’s rule, CMS is completing the two-year phase-in of the method to

reduce unnecessary utilization in outpatient services by addressing payments for clinic visits

furnished in the off-campus hospital outpatient setting.” 1

       By the agency’s own admission, the very same two-year phase-in of the payment

reduction that CMS announced (in the agency’s own words, “finalized”) in the 2019 Rule is

being “implemented” in the 2020 Rule. And it is not somehow outside this Court’s order merely

because it was always intended to be implemented in a two-year phase-in. See Int’l Ladies’

Garment Workers’ Union v. Donovan, 733 F.2d 920, 921–923 (D.C. Cir. 1984) (rejecting similar

“attempt to circumvent a lawful order” by crafting a putatively “new” rule on remand). This

Court vacated the entire site neutral portion of the 2019 OPPS Final Rule (Section X.B)—which

included the two-year phase-in. Dkt. 32 (ordering that “the Secretary’s Method to Control for

Unnecessary Increases in the Volume of Outpatient Services, 83 Fed. Reg. 58,818, 59,004-15

(Nov. 21, 2018) (Section X.B), is VACATED”). There simply can be no argument that the

second year of the phase-in was somehow exempt from vacatur. And CMS’s conduct in

continuing to implement that two-year phase-in does not reflect “proceedings consistent” with an

Order holding that policy ultra vires. Dkt. 32.

       Nor is CMS’s recalcitrance an academic matter. Plaintiffs and their members should not

be forced to wait until January (when the second year of rate reductions go into effect), suffer

further harm under that further rate reduction, present their claims to the agency (again), await

denials of those claims (again), file a post-presentment complaint (again), go through merits


1
 See https://www.cms.gov/newsroom/fact-sheets/cy-2020-medicare-hospital-outpatient-
prospective-payment-system-and-ambulatory-surgical-center-0 (emphasis added).



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briefing (again), and await a summary judgment decision by this Court (again) in order to obtain

relief. Plaintiffs moved promptly to challenge the two-year reduction when it was announced,

after dutifully presenting claims under the 2019 Rule announcing the two-year phase-in. It

would be illogical in the extreme to require Plaintiffs to present claims yet again in order to

challenge the second year of the phase-in that was “finalized” in the vacated 2019 Rule.

       While hinting that it “may appeal the Court’s decision,” Gov. Opp. at 2 (emphasis added),

following its unsuccessful request for reconsideration the Government has not yet filed a notice

of appeal. Nor has the agency taken any other remedial measures of which Plaintiffs are aware.

Indeed, CMS has not even changed its payment rates for CY 2019, nor has it made hospitals

whole for past underpayments. It would add insult to injury to force hospitals to suffer further

rate cuts indefinitely into CY 2020 under phase two of a two-year reduction that was already

declared unlawful. The Government’s agreement to “expedite any new case challenging the

2020 rule,” id., is cold comfort; any rounds of additional pleading, briefing, and deliberation,

even if “expedited,” would provide CMS an excuse to refrain from complying with the law for

many more months. And given that CMS still has not adjusted the payment rates for CY 2019 or

made hospitals whole for past underpayments, hospitals should not be required to continue to

suffer in the hopes that CMS might someday comply with the Court’s mandate.




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                                   Respectfully submitted,


                                   __/s/ Catherine E. Stetson_____________
                                   Catherine E. Stetson (D.C. Bar No. 453221)
                                   Susan M. Cook (D.C. Bar No. 462978)
                                   HOGAN LOVELLS US LLP
                                   555 Thirteenth Street, N.W.
                                   Washington, D.C. 20004
                                   Phone: (202) 637-5491
                                   Fax: (202) 637-5910
                                   cate.stetson@hoganlovells.com

                                   Counsel for the American Hospital Association,
                                   Association of American Medical Colleges, Mercy
                                   Health Muskegon, Clallam County Public Hospital
                                   No. 2, d/b/a Olympic Medical Center, and York
                                   Hospital

Dated: December 5, 2019




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